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                               Nebraska Supreme Court Advance Sheets
                                        312 Nebraska Reports
                                                   STATE V. GODEK
                                                  Cite as 312 Neb. 1004



                                        State of Nebraska, appellee, v.
                                          James T. Godek, appellant.
                                                    ___ N.W.2d ___

                                         Filed December 2, 2022.   No. S-22-015.

                1. Convictions: Appeal and Error. A conviction will be affirmed, in the
                   absence of prejudicial error, if the properly admitted evidence, viewed
                   and construed most favorably to the State, is sufficient to support the
                   conviction.
                2. Judgments: Appeal and Error. When reviewing questions of law, an
                   appellate court resolves the questions independently of the lower court’s
                   conclusions.
                3. Statutes. Statutory interpretation presents a question of law.
                4. ____. Statutory interpretation begins with the text, and the text is to be
                   given its plain and ordinary meaning.
                5. Statutes: Appeal and Error. An appellate court will not resort to inter-
                   pretation of statutory language to ascertain the meaning of words which
                   are plain, direct, and unambiguous.
                6. Statutes. It is not within the province of the courts to read meaning
                   into a statute that is not there or to read anything direct and plain out of
                   a statute.
                7. Criminal Law: Statutes. Penal statutes must be strictly construed and
                   are considered in the context of the object sought to be accomplished,
                   the evils and mischiefs sought to be remedied, and the purpose sought
                   to be served.
                8. Statutes. A court must place on a statute a reasonable construction
                   which best achieves the statute’s purpose, rather than a construction
                   which would defeat that purpose.
                9. Statutes: Legislature. It is a fundamental canon of statutory construc-
                   tion that words generally should be interpreted as taking their ordinary
                   meaning at the time the Legislature enacted the statute.
               10. Criminal Law: Words and Phrases. The term “threaten” used in Neb.
                   Rev. Stat. § 28-311.01 (Reissue 2016) requires communication of a
                   threat to a listener or recipient.
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            Nebraska Supreme Court Advance Sheets
                     312 Nebraska Reports
                             STATE V. GODEK
                            Cite as 312 Neb. 1004
11. Jurisdiction: Appeal and Error. A jurisdictional question which does
    not involve a factual dispute is determined by an appellate court as a
    matter of law.
12. Criminal Law: Jurisdiction. Ordinarily, no penalty can be incurred
    under the law of this state except for transactions occurring within this
    state, and our state law has no extraterritorial effect.
13. ____: ____. When some requisite elements of a crime are committed
    outside Nebraska, but an essential element of the crime is committed or
    occurs in Nebraska, a Nebraska court has subject matter jurisdiction for
    prosecution of a defendant charged with the crime.
14. Venue. Venue is the place where a court’s inherent power to adjudicate
    may be exercised.
15. Criminal Law: Jurisdiction. The courts of the county where an offense
    is committed have jurisdiction of the subject matter of the cause and
    jurisdiction to try the accused for the crime charged.
16. Criminal Law: Venue: Jurisdiction: Waiver: Proof. In a criminal
    case, proper venue is a jurisdictional fact that, in the absence of a
    defend­ant’s waiver by requesting a change of venue, the State has the
    burden of proving beyond a reasonable doubt.
17. Appeal and Error. An appellate court is not obligated to engage in an
    analysis that is not necessary to adjudicate the case and controversy
    before it.

  Appeal from the District Court for Sarpy County: Stefanie
A. Martinez, Judge. Affirmed.
  Todd A. West, Assistant Sarpy County Public Defender, for
appellant.
   Douglas J. Peterson, Attorney General, and Nathan A. Liss
for appellee.
  Heavican, C.J., Miller-Lerman, Cassel, Stacy, Funke,
Papik, and Freudenberg, JJ.
    Cassel, J.
                        I. INTRODUCTION
   James T. Godek appeals from his conviction and sentence
for terroristic threats, 1 based upon phone calls he placed from
Council Bluffs, Iowa, to persons in Bellevue, Sarpy County,

1
    See Neb. Rev. Stat. § 28-311.01 (Reissue 2016).
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         Nebraska Supreme Court Advance Sheets
                  312 Nebraska Reports
                         STATE V. GODEK
                        Cite as 312 Neb. 1004
Nebraska. Arguing that the elements of the offense do not
require a recipient or listener, he contests the district court’s
territorial jurisdiction and venue; sufficiency of the evidence;
the court’s instruction on venue; and its denial of his motions
to quash, for directed verdict, for mistrial, and for new trial.
Because we reject his premise, his assigned errors lack merit.
We affirm the judgment.
                       II. BACKGROUND
                    1. Factual Background
   Godek placed a series of phone calls from his residence in
Council Bluffs to his sister’s business, which is in Bellevue.
Prior to making the phone calls, Godek had not seen or spoken
with his sister, Jayme Cronk, in approximately 3 years. Cronk
was working at her business with Jennifer Merriman, Godek’s
other sister, when Godek made the phone calls at issue.
   Cronk answered the first phone call. Godek identified him-
self to Cronk and then stated that he lost his job and wanted
to die. According to Cronk, Godek became belligerent while
speaking to her on the phone and proceeded to blame Cronk,
Merriman, and Cronk’s husband for his situation. Godek then
stated that he wanted Cronk dead. After Cronk hung up the
phone, she called the 911 emergency dispatch service to report
the incident. Cronk was told that an officer would be sent to
her business to make a report.
   Godek called the business a second time. This time Merriman
answered the phone. Godek continued making threatening
statements, including telling Merriman that he was going to kill
Cronk’s husband, who was working in Council Bluffs. Cronk
recorded the second phone call on her cell phone because she
“knew it wasn’t going to be good.” Cronk promptly called her
husband to notify him of Godek’s threats.
   Godek called a third time. While Cronk and Merriman were
speaking with Godek, an officer from the Bellevue Police
Department arrived at Cronk’s business.
   Godek then called yet again. Merriman answered the phone,
identified the caller as Godek, and gave the phone to the
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            Nebraska Supreme Court Advance Sheets
                     312 Nebraska Reports
                             STATE V. GODEK
                            Cite as 312 Neb. 1004
officer. The officer attempted to talk with Godek and observed
that he seemed agitated and upset. Godek challenged the offi-
cer to come to Council Bluffs to fight him.
   Thereafter, the officer notified law enforcement in Council
Bluffs of Godek’s situation. Law enforcement officers
responded that they had done a welfare check at Godek’s
residence earlier that day and indicated that they would not be
investigating the phone calls. The officer applied for an arrest
warrant in Sarpy County.
                    2. Procedural History
                         (a) Information
   The State filed an amended information in the district court
for Sarpy County charging Godek with terroristic threats, a
Class IIIA felony, pursuant to § 28-311.01.
                   (b) Pretrial Motion to Quash
   Prior to trial, Godek filed a motion to quash, asserting lack
of subject matter jurisdiction and improper venue. Godek
contended that terroristic threats did not take place in Sarpy
County because Godek uttered the threats while he was in
Iowa. The State countered that the terroristic threats statute
requires that a threat be made toward “another,” 2 meaning
that a recipient is a material element of the offense. The State
asserted that the recipient here received the threats in Sarpy
County, making jurisdiction and venue appropriate. 3 The court
agreed with the State and overruled the motion to quash.
                           (c) Jury Trial
   The court, with a jury, tried Godek for terroristic threats.
After the State rested its case, Godek moved for a directed ver-
dict. Godek asserted that the State failed to prove beyond a rea-
sonable doubt that the alleged terroristic threats took place in
Sarpy County. The court disagreed with Godek and overruled
2
    See § 28-311.01(1)(a).
3
    See State v. Red Kettle, 239 Neb. 317, 476 N.W.2d 220 (1991).
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         Nebraska Supreme Court Advance Sheets
                  312 Nebraska Reports
                         STATE V. GODEK
                        Cite as 312 Neb. 1004
the motion, reasoning that the State met its burden to prove a
material element of terroristic threats—receipt of the threat by
another—took place in Sarpy County.
   At the close of the evidence, the parties held a conference
regarding the court’s proposed jury instructions. The State
proposed the following instruction to define the elements of
terroristic threats:
         The material elements of the charge of terroristic
      threats, as charged in Count 1, are as follows:
         1. The defendant, . . . Godek, did threaten to commit a
      crime of violence
         a. with the intent to terrorize another; or
         b. in reckless disregard of the risk of causing such
      terror;
         2. The act took place on or about August 12, 2020; and
         3. At least one of the material elements in paragraph 1
      above took place in Sarpy County, Nebraska.
Godek objected to provision (3) as a misstatement of law,
arguing that the instruction improperly expanded jurisdiction
based on a nonexistent element of terroristic threats—a recipi-
ent. The court adopted the State’s instruction and read it to
the jury.
   During closing arguments, the State told the jury that a
recipient is a material element of terroristic threats. The State
further explained that the offense is not committed until some-
one hears or receives the alleged threat. The State argued that
the recipients of Godek’s threats were located in Sarpy County,
which was sufficient to show that Godek’s offense took place
there. Godek objected and moved to strike the State’s argu-
ment. In addition, Godek moved for a curative instruction to
the jury or, in the alternative, a mistrial. The court overruled
his motion.
              (d) Verdict, New Trial Motion,
                      and Sentencing
   The jury found Godek guilty of terroristic threats. He
timely moved for a new trial on various grounds, including
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            Nebraska Supreme Court Advance Sheets
                     312 Nebraska Reports
                             STATE V. GODEK
                            Cite as 312 Neb. 1004
prosecutorial misconduct, insufficiency of the State’s evidence,
and improperly instructing the jury on the elements of terror-
istic threats. Following a hearing, the court denied the motion
for a new trial. It sentenced him to 2 years’ imprisonment, fol-
lowed by 18 months of post-release supervision.
   Godek filed a timely appeal, which we moved to our docket. 4
                III. ASSIGNMENTS OF ERROR
   Godek assigns, restated, that the district court erred by
(1) overruling the motion to quash for lack of subject matter
jurisdiction; (2) giving the jury an “improper and misleading”
instruction of the law, which stated that venue was appropriate
in Sarpy County; (3) overruling Godek’s objection to the pros-
ecutor’s “improper[]” statements during closing arguments, not
issuing a curative instruction, and overruling the motion for a
mistrial; (4) overruling Godek’s motion for a directed verdict;
(5) finding the evidence sufficient to sustain the jury’s guilty
verdict; and (6) overruling the motion for a new trial.
                IV. STANDARD OF REVIEW
   [1,2] We set forth two overarching standards of review. A
conviction will be affirmed, in the absence of prejudicial error,
if the properly admitted evidence, viewed and construed most
favorably to the State, is sufficient to support the conviction. 5
When reviewing questions of law, an appellate court resolves
the questions independently of the lower court’s conclusions. 6
Additional standards are set forth at appropriate points in the
analysis section below.
                       V. ANALYSIS
   At oral argument, Godek iterated two concessions, both
of which are consistent with his arguments in brief. First,
there is no dispute regarding the facts relating to the phone
4
    See Neb. Rev. Stat. § 24-1106(3) (Cum. Supp. 2022).
5
    State v. Pauly, 311 Neb. 418, 972 N.W.2d 907 (2022).
6
    State v. Jones, 307 Neb. 809, 950 N.W.2d 625 (2020).
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             Nebraska Supreme Court Advance Sheets
                      312 Nebraska Reports
                               STATE V. GODEK
                              Cite as 312 Neb. 1004
calls. Second, all of his assignments of error are based on
his interpretation of the elements of terroristic threats under
§ 28-311.01.
   Ordinarily, we would first address the district court’s juris-
diction. But here, to answer the jurisdictional question, we
must first determine the elements of terroristic threats as
applied to these facts.
                   1. Elements of § 28-311.01
          (a) Godek’s Contention and State’s Response
   Godek contends that the district court erred by interpreting
the word “another” in the terroristic threats statute 7 to require
that someone actually receive the threat as an element of his
offense. Godek points to the plain language of § 28-311.01(1),
which, he argues, does not state that the person must “com-
municate” the threat or that the threat must be “receive[d]” by
another person. 8 Godek asserts that the court improperly read
those terms into the statute. Godek also suggests that the word
“another” refers only to the defendant’s mens rea, or the requi-
site intent for committing terroristic threats.
   The State counters that the plain language of the statute
requires making threats “[w]ith the intent to terrorize another” 9
or “[i]n reckless disregard of the risk of causing such terror.” 10
The State asserts that this language indicates that a threat must
be “communicated or conveyed to another.” 11 The State also
asserts that a “‘threat,’” by definition, means “‘[a] communi-
cated intent to inflict harm or loss on another or on another’s
property.’” 12 Finally, the State suggests that Godek’s position,
which would permit a conviction for terroristic threats even in
 7
     See § 28-311.01(1)(a).
 8
     Brief for appellant at 26.
 9
     § 28-311.01(1)(a).
10
     § 28-311.01(1)(c).
11
     Brief for appellee at 14.
12
     Id. (quoting Black’s Law Dictionary 1519 (8th ed. 1999)).
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             Nebraska Supreme Court Advance Sheets
                      312 Nebraska Reports
                              STATE V. GODEK
                             Cite as 312 Neb. 1004
the absence of a communication, is a “non sequitur” in light of
the statute’s purpose. 13
                       (b) Standard of Review
     [3] Statutory interpretation presents a question of law. 14
                          (c) Resolution
    [4-6] To determine the elements of terroristic threats as
applied to these facts, we begin by setting forth familiar
principles of statutory interpretation. Statutory interpretation
begins with the text, and the text is to be given its plain and
ordinary meaning. 15 An appellate court will not resort to inter-
pretation of statutory language to ascertain the meaning of
words which are plain, direct, and unambiguous. 16 Similarly,
it is not within the province of the courts to read meaning into
a statute that is not there or to read anything direct and plain
out of a statute. 17
    [7,8] Penal statutes must be strictly construed and are con-
sidered in the context of the object sought to be accomplished,
the evils and mischiefs sought to be remedied, and the pur-
pose sought to be served. 18 A court must place on a statute
a reasonable construction which best achieves the statute’s
purpose, rather than a construction which would defeat that
purpose. 19
    Section 28-311.01, which creates the offense of terroristic
threats, provides:
          (1) A person commits terroristic threats if he or she
       threatens to commit any crime of violence:
13
     Id. at 15.
14
     State v. Space, ante p. 456, 980 N.W.2d 1 (2022).
15
     Dutcher v. Nebraska Dept. of Corr. Servs., ante p. 405, 979 N.W.2d 245     (2022).
16
     Id.17
     State v. Knight, 311 Neb. 485, 973 N.W.2d 356 (2022).
18
     State v. Hofmann, 310 Neb. 609, 967 N.W.2d 435 (2021).
19
     State v. Pauly, supra note 5.
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             Nebraska Supreme Court Advance Sheets
                      312 Nebraska Reports
                               STATE V. GODEK
                              Cite as 312 Neb. 1004
         (a) With the intent to terrorize another;
         (b) With the intent of causing the evacuation of a build-
      ing, place of assembly, or facility of public transporta-
      tion; or
         (c) In reckless disregard of the risk of causing such ter-
      ror or evacuation.
         (2) Terroristic threats is a Class IIIA felony.
   We first turn to the plain language of the statute. Section
28-311.01(1)(a) states that terroristic threats occur when a
person “threatens” to commit a crime of violence intend-
ing to terrorize “another.” Although we have not previously
defined the word “threatens” under § 28-311.01, we have con-
sidered various definitions and held that it is a term of com-
mon usage and understanding. 20 In reaching that conclusion,
we referred to definitions that recognized the existence of a
communication. 21
   [9] The cited legal definitions are consistent with the com-
mon definition of “threaten” at the time the Legislature adopted
§ 28-311.01 in 1986. 22 It is a fundamental canon of statutory
construction that words generally should be interpreted as tak-
ing their ordinary meaning at the time the Legislature enacted
the statute. 23 Dictionaries defined “threaten” as “[t]o try to
20
     See State v. Schmailzl, 243 Neb. 734, 502 N.W.2d 463 (1993).
21
     See, e.g., United States v. Baish, 460 A.2d 38, 42 (D.C. 1983), abrogated
     on other grounds, Carrell v. U.S., 80 A.3d 163 (D.C. 2013) (“a person
     ‘threatens’ when she utters words, which are intended to convey her desire
     to inflict physical or other harm on any person or on property, and these
     words are communicated to someone”); State v. Porter, 384 A.2d 429,
     434 (Me. 1978) (“[a] communication is a threat if it carries the promise
     of evil under such circumstances that a reasonable person receiving the
     communication would believe that such was to ensue at the hands of the
     communicator, or his allies”); State v. Gunzelman, 210 Kan. 481, 486,
     502 P.2d 705, 710 (1972) (“[t]he word ‘threat’ . . . means a communicated
     intent to inflict physical or other harm on any person or on property”).
22
     See 1986 Neb. Laws, L.B. 956, § 11.
23
     Nebraska Republican Party v. Shively, 311 Neb. 160, 971 N.W.2d 128     (2022).
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             Nebraska Supreme Court Advance Sheets
                      312 Nebraska Reports
                              STATE V. GODEK
                             Cite as 312 Neb. 1004
influence (a person) by menaces; to utter or hold out a threat
against; to declare . . . one’s intention of inflicting injury
upon” 24; “to utter threats against : promise punishment, repri-
sal, or other distress to” 25; and “to be a menace or source of
danger to.” 26 These definitions teach that the transitive verb
“threaten” includes the concept of a listener or recipient.
   We also agree with the State that the statutory language
indicates that the threat must be received by “another” for the
offense to occur. Godek argues that the word “another” refers
only to the actor’s intent and directs our attention to our analy-
sis in State v. Smith. 27
   The issue in Smith was whether third degree assault is
a lesser-included offense of terroristic threats. We applied a
statutory elements test in which a court looks to the statutory
elements of each crime rather than the particular facts of a
specific case.
   We first noted that the two offenses have at least one ele-
ment in common: a threat. We observed that in addition to a
threat, § 28-311.01(1)(a) requires that the threat to commit a
violent crime be made “[w]ith the intent to terrorize another.”
We explained that “the intent to terrorize another is an intent
to produce intense fear or anxiety in another.” 28
   In analyzing the elements of § 28-311.01 in Smith, we made
two other observations pertinent here. First, we explained
that “[terroristic threats] need not produce a result in the
24
     17 The Oxford English Dictionary 998 (2d ed. 1989).
25
     Webster’s Third New International Dictionary of the English Language,
     Unabridged 2382 (1986); Webster’s Third New International Dictionary
     of the English Language, Unabridged 2382 (1981). See, also, Webster’s
     Ninth New Collegiate Dictionary 1229 (1983) (“to utter threats against,”
     “to give signs or warning of,” “to hang over dangerously,” and “to
     announce as intended or possible”).
26
     Webster’s Encyclopedic Unabridged Dictionary of the English Language
     1478 (1989).
27
     State v. Smith, 267 Neb. 917, 678 N.W.2d 733 (2004).
28
     Id. at 921, 678 N.W.2d at 736 (emphasis supplied).
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             Nebraska Supreme Court Advance Sheets
                      312 Nebraska Reports
                              STATE V. GODEK
                             Cite as 312 Neb. 1004
victim.” 29 Second, § 28-311.01(1)(a) “does not require that
the recipient of the threat be actually terrorized, and it does
not require an intent to execute the threats made.” 30
   [10] Our analysis in Smith confirms that the word “another”
refers to the person hearing or receiving the threat. We agree
with the State that the only way in which a person could con-
ceivably intend “to produce intense fear or anxiety in another”
is by communicating the threat to someone other than the
actor. Additionally, our references in Smith to a “victim” and
a “recipient” support our conclusion that the word “another”
refers to the person hearing or receiving the threat. We hold
that the term “threaten” used in § 28-311.01 requires com­
munication of a threat to a listener or recipient.
   We also find some guidance in our decision in State v.
Hamilton, 31 holding an earlier version of a terroristic threats
statute unconstitutional. Although that decision considered
statutory language quite different from our current statute, we
noted that the statute there contained the word “threaten,” but
it did not define the term “threat.” We further explained that
the statute did not “describe how or to whom, if anyone, the
threat must be made.” 32 Thus, we asked: “Is it a violation of
this act to make the threat if the threat is neither heard nor
received by the anticipated victim, or does a violation occur
only if there is knowledge and understanding by the party to
whom it is directed?” 33
   We also explained that the statute there, which had been
adopted in 1977, 34 while similar in purpose to the Model Penal
29
     Id. at 922, 678 N.W.2d at 737 (emphasis supplied).
30
     Id. at 921, 678 N.W.2d at 736 (emphasis supplied) (citing State v.
     Saltzman, 235 Neb. 964, 458 N.W.2d 239 (1990)).
31
     State v. Hamilton, 215 Neb. 694, 340 N.W.2d 397 (1983) (declaring Neb.
     Rev. Stat. § 28-311 (Reissue 1979) unconstitutionally vague).
32
     Id. at 697, 340 N.W.2d at 399.
33
     Id.34
     1977 Neb. Laws, L.B. 38, § 26.
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                               STATE V. GODEK
                              Cite as 312 Neb. 1004
Code, was a significant departure from the code’s language.
We quoted from the code, which provided: “‘A person is guilty
of a felony of the third degree if he threatens to commit any
crime of violence with purpose to terrorize another . . . .’” 35
Contrasting that language with § 28-311, we stated:
      The language of the Model Penal Code is certainly much
      clearer than that adopted by the Nebraska Legislature.
      An actor violates the Model Penal Code when he or
      she threatens to commit any crime of violence, with
      the intent to terrorize another, regardless of what the
      outcome of the act will be or of how the victim receives
      the threat. 36
   On appeal here, Godek makes a similar argument, asserting
that the statute does not describe how or to whom, if anyone,
the threat must be made. But the statute now before us incor-
porated the Model Penal Code language. Thus, our discussion
in Hamilton supports our conclusions that the word “another”
refers to the person who receives the threat and that the word
“threaten” requires communication of a threat to a listener
or recipient.
   Because the terroristic threats statute requires that the threat
be communicated to another, a recipient was an essential ele-
ment of Godek’s offense. Accordingly, the district court did
not err in its interpretation of § 28-311.01(1)(a) as applied to
these facts.
                2. Jurisdiction and Venue
                   (a) Godek’s Contention
  We next address Godek’s arguments regarding jurisdiction
and venue. Godek asserts that he committed the offense in
Iowa rather than Nebraska, depriving the district court of
35
     See State v. Hamilton, supra note 31, 215 Neb. at 698, 340 N.W.2d at 399     (emphasis in original). See, also, Model Penal Code § 211.3, 10A U.L.A.
     418 (2001).
36
     State v. Hamilton, supra note 31, 215 Neb. at 698-99, 340 N.W.2d at 399-
     400 (emphasis supplied).
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                              STATE V. GODEK
                             Cite as 312 Neb. 1004
subject matter jurisdiction and rendering venue improper.
Godek contends that the district court erred by inventing a
new element of terroristic threats—receipt of the threat by
another—in order to exercise jurisdiction.
                     (b) Standard of Review
   [11] A jurisdictional question which does not involve a
factual dispute is determined by an appellate court as a matter
of law. 37
                         (c) Resolution
   Godek’s argument challenges only Nebraska’s territorial
jurisdiction and the related requirement of proper venue. He
does not otherwise challenge the district court’s subject matter
jurisdiction. We limit our analysis accordingly.
   [12,13] In criminal matters, two territorial jurisdiction prin-
ciples may apply. Ordinarily, no penalty can be incurred under
the law of this state except for transactions occurring within
this state, and our state law has no extraterritorial effect. 38
However, when some requisite elements of a crime are com-
mitted outside Nebraska, but an essential element of the
crime is committed or occurs in Nebraska, a Nebraska court
has subject matter jurisdiction for prosecution of a defendant
charged with the crime. 39 It follows that any element of an
offense can confer territorial jurisdiction. 40
   [14] Venue is the place where a court’s inherent power to
adjudicate may be exercised. 41 Article I, § 11, of the Nebraska
Constitution provides that an accused shall have the right to
37
     Mann v. Mann, ante p. 275, 978 N.W.2d 606 (2022).
38
     State v. Karsten, 194 Neb. 227, 231 N.W.2d 335 (1975) (citing State v.
     Hyslop, 131 Neb. 681, 269 N.W. 512 (1936)).
39
     State v. Red Kettle, supra note 3; State v. Schaaf, 234 Neb. 144, 449
     N.W.2d 762 (1989); State v. Manchester, 213 Neb. 670, 331 N.W.2d 776     (1983); State v. Hilpert, 213 Neb. 564, 330 N.W.2d 729 (1983).
40
     See State v. Manchester, supra note 39.
41
     State v. Warlick, 308 Neb. 656, 956 N.W.2d 269 (2021).
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                              STATE V. GODEK
                             Cite as 312 Neb. 1004
a jury trial in the “county or district in which the offense is
alleged to have been committed.” Similarly, Neb. Rev. Stat.
§ 29-1301 (Reissue 2016) generally requires that a criminal trial
take place “in the county where the offense was committed.”
   [15,16] The courts of the county where an offense is com-
mitted have jurisdiction of the subject matter of the cause and
jurisdiction to try the accused for the crime charged. 42 In a
criminal case, proper venue is a jurisdictional fact that, in the
absence of a defendant’s waiver by requesting a change of
venue, the State has the burden of proving beyond a reason-
able doubt. 43
   In this case, jurisdiction and venue turn on the elements of
terroristic threats. We have already determined that a recipi-
ent was an essential element of Godek’s offense. Because it is
undisputed that the recipients here received the threats in Sarpy
County, we conclude that an essential element of Godek’s
offense occurred in Nebraska. That element conferred territo-
rial jurisdiction.
   We next turn to Godek’s argument that venue was improper
in the district court for Sarpy County. In light of our conclu-
sion that an essential element of Godek’s offense took place
where the recipients of Godek’s threats were located, we find
that Sarpy County was “the county where the offense was
committed” under the venue statute, § 29-1301. Accordingly,
we conclude that venue was proper to prosecute Godek for ter-
roristic threats.
   Godek also argues that because a new, additional venue
statute 44 was added after his conviction, somehow the pre-
existing venue statute did not provide for his offense. We
disagree. Section 29-1301 covered the offense here, and we
need not speculate as to the motive of legislators in adding the
new statute.
42
     State v. Furstenau, 167 Neb. 439, 93 N.W.2d 384 (1958).
43
     State v. Warlick, supra note 41.
44
     See § 29-1301.04 (Cum. Supp. 2022).
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                                STATE V. GODEK
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   Because venue was proper under § 29-1301, we do not
address Godek’s other arguments regarding the venue statute’s
exceptions. 45 Godek’s offense occurred in only one county in
Nebraska. For the same reason, we need not address the State’s
argument regarding venue when an offense originates in one
county and terminates in another. 46

                    3. Remaining Assignments
                             of Error
   Based on his statutory elements argument, Godek attacks
his conviction on various grounds regarding the pretrial, trial,
and posttrial proceedings. His claims involve the motion to
quash, the jury instructions, the sufficiency of the evidence,
the motion for a directed verdict, alleged prosecutorial mis-
conduct, the motion for a mistrial, and the motion for a
new trial.
   [17] An appellate court is not obligated to engage in an
analysis that is not necessary to adjudicate the case and contro-
versy before it. 47 That principle applies here.
   As Godek’s briefing and oral argument conceded, all of his
remaining arguments rely on his statutory elements argument.
Because we have already rejected his elements argument, his
other arguments also fail. We need not give further consider-
ation to his other assignments of error.
45
     See, Neb. Rev. Stat. § 25-412.03 (Reissue 2016) (cases subject to interlocal
     cooperation agreement); Neb. Rev. Stat. § 29-1301.01 (Reissue 2016)
     (crimes against person committed in multiple counties); Neb. Rev. Stat.
     § 29-1301.02 (Reissue 2016) (crimes committed on moving means of
     transportation in multiple counties); Neb. Rev. Stat. § 29-1301.03 (Reissue
     2016) (crimes already adjudicated in one county, which are barred from
     prosecution in another county); § 29-1301.04 (crimes committed in
     multiple counties using electronic communication device).
46
     See, § 29-1301.01; State v. Tiff, 199 Neb. 519, 260 N.W.2d 296 (1977);
     State v. Lindsey, 193 Neb. 442, 227 N.W.2d 599 (1975); State v. Garza,
     191 Neb. 118, 214 N.W.2d 30 (1974).
47
     State v. Huston, 298 Neb. 323, 903 N.W.2d 907 (2017).
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                        STATE V. GODEK
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                        VI. CONCLUSION
   We find no merit to Godek’s argument that the terroris-
tic threats statute does not require a recipient of the threat.
Because a recipient is an essential element of the offense,
Godek’s other arguments fail. Viewing the evidence in the
light most favorable to the prosecution, we determine the State
offered sufficient evidence to prove beyond a reasonable doubt
that an element of terroristic threats occurred in Sarpy County,
where Godek’s sisters received the threats. Accordingly, we
find that the district court had jurisdiction and that venue was
proper. We affirm the judgment of the district court.
                                                     Affirmed.
